      Case 3:15-cr-00024 Document 49 Filed on 11/19/15 in TXSD Page 1 of 3
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             November 19, 2015
                    IN THE UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk

                    FOR THE SOUTHERN DISTRICT OF TEXAS

                               GALVESTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §   CRIMINAL NO. G-15-024 (4)
                                           §
BRANDEN FORCH, JR.                         §

                    ORDER OF DETENTION PENDING TRIAL

       On November 13, 2015, this Court conducted a Hearing on the Government's

Motion to Detain Branden Forch, Jr., a co-Defendant in the above-styled and numbered

cause. The Government appeared by attorney and announced ready; the Defendant

appeared in person and by Court-appointed counsel and announced ready.                  The

Government offered the testimony of Eduardo De La Serta, a Detective with the

Friendswood Police Department; Forch offered the testimony of Julia Rodriguez, his

grandmother. The Court also made the Pretrial Services report, which recommended a

bond, a part of the record for purposes of the Detention Hearing only. Having now

considered the evidence, the recommendation of the Pretrial Services, and the arguments

of counsel, this Court makes the following findings of fact and conclusions of law:

1.     That pursuant to the Indictment there is probable cause to believe that Forch has

       committed crimes of violence, to-wit: armed robbery in violation of 18 U.S.C.

       §2113 and brandishing a firearm during a crime of violence, in violation of 18

       U.S.C. §924(c);
     Case 3:15-cr-00024 Document 49 Filed on 11/19/15 in TXSD Page 2 of 3




2.    That by virtue of the foregoing finding a rebuttable presumption was created in

      favor of Forch’s detention, 18 U.S.C. §3142(e)(3)(B);

3.    That the strength of the Government’s case is substantial given, inter alia, the video

      recording of the bank robbery showing Forch’s possession of a firearm, the victim

      witnesses’ positive identifications and Forch’s confession to his involvement in the

      offense;

4.    That Forch’s evidence has failed to rebut the presumption created by 18 U.S.C.

      §3142(e)(3)(B);

6.    That by virtue of the foregoing findings, Forch would constitute a danger to the

      community if released;

7.    That the credible evidence and information submitted establishes by clear and

      convincing evidence that there is no condition or combination of conditions which

      could be imposed upon Forch by this Court to reasonably assure the safety of the

      community if he were released.

      It is, therefore, ORDERED that Branden Forch, Jr., be, and he is hereby,

COMMITTED to the custody of the Attorney General or his designated representative for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal.

      It is further ORDERED that Branden Forch, Jr., SHALL be afforded a reasonable

opportunity for private consultation with defense counsel.


                                            2
     Case 3:15-cr-00024 Document 49 Filed on 11/19/15 in TXSD Page 3 of 3




       It is further ORDERED that upon Order of a Court of the United States or upon

request of an attorney for the Government, the person in charge of the corrections facility

SHALL deliver Branden Forch, Jr., to the United States Marshal for the purpose of an

appearance in connection with a Court proceeding.

       DONE at Galveston, Texas, this           19th         day of November, 2015.




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